902 F.2d 29Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard A. POSTON, Petitioner-Appellant,v.STATE of South Carolina;  Parker Evatt, Commissioner;  Stateof South Carolina, Respondents-Appellees.
    No. 89-6550.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 2, 1989.Decided April 17, 1990.Rehearing and Rehearing In Banc Denied May 21, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Falcon B. Hawkins, District Judge.  (C/A No. 88-1523-3)
      Richard A. Poston, appellant pro se.
      Donald John Zelenka, Chief Deputy Attorney General, Columbia, S.C., for appellees.
      D.S.C.
      DISMISSED.
      Before WIDENER, PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Richard Poston seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny Poston's motion for appointment of counsel, deny a certificate of probable cause to appeal, and dismiss the appeal on the reasoning of the district court.  Poston v. State of South Carolina, C/A No. 88-1523-3 (D.S.C. Feb. 16, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    